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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY



  SECURITIES AND EXCHANGE
  COMMISSION,
                                                      C. A. No. 2:19-cv-17213 (MCA)
        Plaintiff,
                           v.


   BRENDA SMITH, BROAD REACH
   CAPITAL, LP, BROAD REACH
   PARTNERS, LLC, and BRISTOL
   ADVISORS, LLC,

        Defendants.




      ORDER APPROVING THE RECEIVER, KEVIN DOOLEY KENT,
   ESQUIRE’S FOURTH INTERIM FEE APPLICATION FOR THE PERIOD
               APRIL 1, 2021 THROUGH JUNE 30, 2021

        THIS MATTER having come before this Court upon the Motion of Receiver,

  Kevin Dooley Kent, Esquire, for Approval of Fourth Interim Fee Application for the

  Period April 1, 2021 through June 30, 2021;

        It is on this       day of                   , 2021,

        ORDERED that the Receiver’s Fourth Interim Fee Application is

  APPROVED; and it is

        FURTHER ORDERED that Payment to Conrad O’Brien PC (“Law Firm”) in

  the amount of $184,131.60, for services performed from April 1, 2021 through June
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  30, 2021, representing eighty percent (80%) of the Law Firm’s total fee of

  $230,164.50 for this quarter, is APPROVED and may be paid by the Receiver at this

  time; and it is

         FURTHER ORDERED that payment to Alvarez & Marsal Disputes and

  Investigations, LLC (“Accountant”) in the amount of $316,962.00 for services

  performed from April 1, 2021 through June 30, 2021, representing eighty percent

  (80%) of the Accountant’s total fee of $396,202.50 for this quarter, is APPROVED

  and may be paid by the Receiver at this time; and it is

         FURTHER ORDERED that payment to Conrad O’Brien PC in the amount of

  $5,945.48 for expenses incurred from April 1, 2021 through June 30, 2021,

  representing eighty percent (80%) of the Firm’s total expenses of $7,431.85 for this

  quarter, is APPROVED and may be paid by the Receiver at this time; and it is

         FURTHER ORDERED that payment to Alvarez & Marsal Disputes and

  Investigations, LLC in the amount of $3,659.47 for expenses incurred from April 1,

  2021 through June 30, 2021, representing eighty percent (80%) of the Accountant’s

  total expenses of $4,574.34 for this quarter, is hereby APPROVED and may be paid

  by the Receiver at this time.

                                          BY THE COURT:



                                          HONORABLE MADELINE COX ARLEO
                                          UNITED STATES DISTRICT JUDGE
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